 

Case 418--vOPR1 6 ENA 33 Filed 08/30/19 Page Leh25 Ragetegaiy—
NORTHERN DISTRICT OF TEXAS
FILED

IN THE UNITED STATES DISTRICT|COURT
FOR THE NORTHERN DISTRICT OF TEXAS quic 3.0. 2019

 

 

 

 

 

 

 

FORT WORTH DIVISION

T.B., b/n/f/ JENNY BELL § CLER}a US. DIST Ka T
Plaintiff, § By Jeputy

5 5
v. § CIVIL ACTION NO. 4:18-CV-984

§
NORTHWEST INDEPENDENT §
SCHOOL DISTRICT §
Defendants. §

PLAINTIFE’S MOTION FOR RECONSIDERATION

RESPECTFULLY SUBMITTED

Mr. Martin J. Cirkiel
State Bar No. 00783829

marty(@cirkielaw.com [Email]

Ms. Holly Terrell, Of Counsel
State Bar No. 24050691

Holly@cirkielaw.com [Email]; both of

Cirkiel & Associates, P.C.

1901 E. Palm Valley Boulevard
Round Rock, Texas 78664
(512) 244-6658 [Telephone]
(512) 244-6014 [Facsimile];

Kenneth Carden, Esq.

State Bar No. 03787300

Carden Law Office

1409 S. Lamar Street, Apt. 601
Dallas, Texas 75215

(214) 485-3535 [Telephone]

(214) 485-3500 [Facsimile]
carden.ada.law@gmail.com [Email]

 

REPRESENTATIVES FOR PLAINTIFF

Motion For Reconsideration i
Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page 2of25 PagelD 637

TABLE OF CONTENTS

TABLE OF CONTENTS 2.000... cn een ee eee e ene e nets

TABLE OF AUTHORITIES 2.1... Le een eee ene nes

I. INTRODUCTION AND BRIEF RESPONSE... 00... eee een ees

If. ISSUES FOR RECONSIDERATION 2.00... cece eee ene

T.B. ALLEGED HE WAS PHYSICALLY ABUSED BY HIS TEACHERS. THE COURT
DETERMINED THAT THE VARIOUS CAUSES OF ACTION BASED UPON SUCH ABUSE
REQUIRED HIM TO GO THROUGH ADMINISTRATIVE EXHAUSTION AS
CONTEMPLATED BY 20 U.S.C. 1415().

DID THE COURT COMMIT A CLEAR ERROR OF LAW BY NOT
PERMITTING T.B. TO FILE AN AMENDED COMPLAINT?

DID THE COURT COMMIT AN ERROR OF LAW BY NOT PERMITTING T.B.
THE OPPORTUNITY TO RESPOND TO THE DISTRICT’S EXHAUSTION
ISSUE BEFORE RULING ON THE ISSUE?

DID THE COURT COMMIT AN ERROR OF LAW WHEN DETERMINING
THAT T.B. WAS REQUIRED TO EXHAUST ADMINISTRATIVE REMEDIES?

WAS PERMITTING THE CASE TO BE SUMMARILY DISMISSED
MANIFESTLY UNJUST?

Tl. STANDARD OF REVIEW ...... 0.00. cece nent eens
TV. FACTUAL RESUME ........ 0. occ en eee e eens
V. PROCEDURAL RESUME 2.0... ccc teen teen ene aes
VI. ARGUMENT AND AUTHORITIES. ........ 0... c ccc cee cence eee ees
VIL CONCLUSION AND PRAYER .... 0.0... occ ce cette teens

VUI. CERTIFICATE OF SERVICE 1.20... 0. ce teenies

Motion For Reconsideration il
Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page 3of25 PagelD 638

TABLE OF AUTHORITIES
TABLE OF AUTHORITIES
Supreme Court Cases

Davis ex el. LaShonda D v. Monroe County Board of Education, 526 U.S. 629, 650 (1999) 9, 17

 

 

 

 

 

 

 

 

 

 

 

 

Foman v. Davis, 371 U.S. 178 (1962) 20... eee eee eens 9
Fry v. Napoleon Community School, 137 S. Ct. 743 (2017) ................ 1, 6, 7, 10-15, 17
Winkelman y. Parma City Sch. Dist., 550 U.S. 516 2.0... cc eee eee 17
Courts Of Appeal
Addington v. Farmer's Elevator Mutual Insurance Co., 650 F.2d 663, 666 (Sth Cir. 1981) ..... 9
Albino v. Baca, 747 F.3d 1162, 1166, 1171 (9th Cir. 2014) 2... ee eee 9
Doucette v. Georgetown Public Schools, No. 18-1160 (1*. Cir., August 26,2019) ....... 1,13
Dussouy v. Gulf Coast Investment Corp., 660 F.2d 594, 598 (Sth Cir. 1981) ............... 9
Fennell v. Marion Independent School District, 804 F.3rd 398, 410 (5" Cir. 2015).......... 17
F.H. v. Memphis City Schools, 764 F.3d 638 (6" Cir. 2014) .............200055 1, 10, 12-13
Gorman v. Batch, 152 F3rd 907 (8 Cir. 1998) 00... ccc cee cece nee eees 16
Hainze v. Richards, 207 F.3d 795, 799 (Sth Cir.2000) ... 0... eee ec ce eee 16
Harrison v. Rubin, 174 F3d 249, 253 (D.C. Cir. 1999) 2... eae 9
ING Global v. United Parcel Serv. Oasis Sup., 757 F.3d 92, 96-97 (Cir. 2014) ........... 8, 15
Knight v. Mooring Capital Fund, LLC, 749 F.3d 1180, 1190 (10 Cir. 2014) .............. 10
Lyn-Lea Travel Corp. v. American Airlines, Inc., 283 F.3d 282, 286 (Sth Cir. 2002) ......... 8
McCormick v. Waukegan Sch. Dist. #60, 374 F.3d 564 (7th Cir. 2004) ..............0.0. 13
Moore v. Kansas City Pub. Schs., 828 F.3d 687 (8th Cir. 2016) 1.0.0... 0.0.0.0. e eee 12°

 

Motion For Reconsideration ili
Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page4of25 PagelD 639

 

 

 

 

 

Morris v. Dearborne, 181 F.3d 657, 674 (SmCir. 1999) 2... ce ees 11
Muskrat v. Deer Creek Pub. Schs., 715 F.3d 775, 785 (10th Cir. 2013) ..............00., 12
Padilla v. Sch. Dist. No. 1, 233 F.3d 1268, 1274 (10th Cir. 2000) ..................00008. 13
Payne v. Peninsula Sch. Dist., 653 F.3d 863, 871 (9th Cir. 2011) (en banc) ............... 12
Quintanilla v. Texas Television, Inc., 139 F.3d 494, 499 (Sth Cir. 1998) ..............00.0-. 8
S.S. v. E. Ky. Univ., 532 F.3d 445, 453-56 (6th Cir. 2008)... 0.2... 2 ee eee eee eee 17
Waller v. City of Danville, 556 F.3d 171, 174 (4 Cir. 2009) ..... 0.2... e cece eee eee 16
U.S. ex rel. Willard v. Humana Health Plan, TX. Inc., 336 F.3d 375, 386 (Sth Cir. 2003) ..... 9

 

District Cases

J.A. v. Corpus Christi ISD, 2018 U.S. Dist. LEXIS 158823 *7-8 (S.D. TX., Corpus Christi Division,
September 18, 2018) 2.2... cece eee e ene e ene nett eee naes 18

Bowe v, Eau Claire Area Sch. Dist., 2017 U.S. Dist. LEXIS 61496, 2017 WL 1458822, at *5 (W.D.
Wis. Apr. 24,2017) 2... ce cee ce nee cee ene eee eee ene neenene 15

C.M. b/n/f Chris & Christine Muat v. Cedar Park Academy, et al, Civil Action No. 1:18-cv-644-RP
(119 LRP 16434) (W.D. TX, Austin Division, April 24,2019) ....... 0... ccc eee c eee

Condit v. Bedford Cent. Sch. Dist., 2017 U.S. Dist. LEXIS 171701, 2017 WL 4685546, at *9
(S.D.N.Y. Oct. 16, 2017)

Considine-Brechon v. Dixon Pub. Sch. Dist. #170, 2017 U.S. Dist. LEXIS 87942, 2017 WL
2480751, at *4-5 (N.D. Ill. June 8, 2017) 2... cee etn teenies 13

Dabney v. Highland Park Elementary School Dist., No. 3:15-CV-2122-1; 2016 WL 1273467 at *16-
17 (N.D. TX, March 31, 2016)... cen cnet n etn ene ee ennees 10

Daniels v. Indep. Sch. Dist. No. 001., 2018 U.S. Dist. LEXIS 79232, 2018 WL 2145009, at *3 (W.D.
Okla. May 9, 2018) 22. nee ete eee e tenet en nn ees 14

Deshotel v. West Baton Rouge Parish School Bd., 937 F. Supp. 2d 826, 831 (M.D. La. 2011) 11
E.H, v. Neal, 2018 U.S. Dist. LEXIS 93001 (M.D. Tenn. Apr. 16, 2018) ..............0005.

Franklin v. Frid, 7 F. Supp. 2d 920, 925 (W.D. Mich. 1998) .............-000 aoe 13, 15-16

Motion For Reconsideration iv
Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page5of25 PagelD 640

Hough v. Shakopee Public Schools, 608 F. Supp. 2d 1087 (D. Minn. 2009) ............... 13

Hurd v, Clark Cty. Sch. Dist., 2017 U.S. Dist. LEXIS 162691, 2017 WL 4349231, at *4 (D. Nev.
Sept. 29,2017) 0... ssc cceccccceeeceeeeeeeveeetereeeeeteeeernnetttteenneeeees 14

Gm v. Lincoln Cty. Sch. Dist., 2017 U.S. Dist. LEXIS 101161, 2017 WL 2804996, at *4 (D. Ore.
Apr. 21,2017) oo. ccc ccc cee cece eeecce ee eeteneveeeneteteneetteeeeetenbeteanness

Gosch v. Sgt. Bluff-Luton Cmty. Sch. Dist., 244 F. Supp. 3d 904, 921-23 (N.D. Iowa 2017) .. 14

P.G. v. Rutherford Cty. Bd. of Educ., 313 F. Supp. 3d 891(M.D. T.N.-Nashville Division, May 29,
2018)... cc eee ence cnet nett nee ees 13, 15-16

P.R. v. Central Texas Autism Center, 2009 U.S. Dist. LEXIS 43303,, at * 20-22 (W.D. Tex. May
15, 2009)

eee ee we em weer ew eo eee we ee ee HO eer Om eee Ow ew we we eee eh eee

Pagan-Negron v. Seguin Indep. Sch. Dist., 974 F. Supp. 2d 1020, 1028 (W.D. TX. 2013) ..6, 11
11

R. J. v. McKinney Indep. Sch. Dist., No. 4:05-CV-257, 2005 U.S. Dist. LEXIS 39470, at *22-*23
(E.D. Tex. Dec. 29, 2005) 2... ccc eet e eben eee n beeen

Tristan v. Socorro Independent School Dist., 902 F. Supp. 2d 870, 879-80 (W.D. Tex. 2012) . 11
Marc V. vN.E. Indep. School District, 455 F.Supp. 2d 577, 592 (W.D. Tex. 2006) ....... 6, 11

Williams v. City of Chicago,733 F.3d 749, 755 (7® Cir. 2013) 2... ccc cee eee 10

Constitution, Federal Statutes and Rules

20 U.S.C. §1415 (IDEA) 1... eee een eee 2-3, 5-6, 10-17
29 U.S.C. § 794 (Section 504 of the Rehabilitation Act of 1973) ..............004. 1,5-6, 16
42 U.S.C. §12131 (Americans With Disabilities Act) ............. 00.002 eee eee eee 6, 14, 16
Fed. R. Civ. P. L20)(1) 0. ener e eee ene eee ees 1-3, 5
Fed. R. Civ. P. 12(b)(6) «00. cee nee ene teenies 2-3, 5

Motion For Reconsideration v
Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page6of25 PagelD 641

MOTION FOR RECONSIDERATION
NOW COMES T.B. (also referred to as “Student”) by and through his next friend and
mother, Jenny Bell, and files this the Motion For Reconsideration pursuant to Fed. R. Civ. P. 59(e).
Specifically, that the Court’s Memorandum Order and Opinion [DE# 39] Granting the 12(b)(1)
Motion To Dismiss filed by the Northwest Independent School District (hereinafter referred to
“NWISD” or the “School District”) was a clear error of law, in a number of manners and particulars
as more fully discussed below. Further, and if left to stand, the decision leads to a result that is
manifestly unjust. In support thereof, T.B. would respectfully argue the following:
I. PROLOGUE
1. T.B. had his arm twisted by one staff member, who also threw him against a wall and pushed
him to the floor. Another staff member knocked him to the ground, kicked him in the chest
and climbed on top of him, both leaving with bruising on his chest, wrists and hips. The
Memorandum Opinion And Order [DE# 30, p. 2-3/9] authored by the Court mistakenly
characterizes these facts as educational in nature. It is a characterization that is absolutely
not supported in the law, see Fry v. Napoleon Community Schools, 137 S. Ct. 743, fn. #9
(2017) and its progeny, see Doucette v. Georgetown Public Schools, No. 18-1160 (1*. Cir.,
August 26, 2019), warranting the granting of this Motion by T.B.
2. The following discussion on the topic was taken from a concurrence written by the
Honorable Circuit Judge Kethledge in F.H. v. Memphis City Schools, 764 F.3d 638 (6" Cir.
2014) in a pre-Fry case that is even more relevant and on point today, and in this case. In
quoting from this writing, we are taking the liberty of using the initials of T.B. rather than

the initials of F.H. but we believe the Circuit Judge’s common sense, heartfelt language and

Motion For Reconsideration 1
Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page 7of25 PagelD 642

adherence to what are now the clear current state of the law on the topic, is absolutely
applicable in this cause. It states:

“To characterize T.B.’s injuries as ‘educational’ is to belittle them. The gravamen of his
claim is not that the conduct described in his complaint might reduce his SAT scores. The
gravamen of his claim, rather, is that this conduct was an attack upon T.B.’s dignity as a
human being. That injury was not remediable by some change to T.B.’s ‘Individualized
Education Plan.’ Nor was it by a mere promise not to let these things happen again. The
remedy for T.B.’s injury, therefore, lay not in ‘the IDEA's administrative procedures[.]’ ...
Instead his remedy lies in federal court, where T.B. can obtain not only compensation for his
injuries, but recognition of what they actually were.”

As this Court’s decision in determining that T.B. was required to exhaust administrative
remedies for all the injury claims noted in his complaint is absolutely “a clear error of law,”
and the Court should grant his Motion For Reconsideration so as “to prevent a manifest

injustice.“

Il. INTRODUCTION AND BRIEF RESPONSE

 

3. T.B. is a child with a disability. In the spring of 2017, he was verbally and physically abused
on numerous occasions by District staff. He filed an Original Complaint [DE#1] alleging
he was a victim of discrimination based upon disability pursuant to both Section 504 of the
Rehabilitation Act of 1973, 29 U.S.C §794 (“Rehab Act”) and the Americans With
Disabilities Act, 42 U.S.C §12131 et seq. He also alleged constitutional violations as
contemplated by both and the Fourth and Fourteenth Amendments to the United States
Constitution. The District filed a Motion To Dismiss, pursuant to Fed. R. Civ. P. 12(b)(1)
arguing that T.B.’s case should be dismissed because he purportedly failed to exhaust
administrative remedies as required by the Individuals With Disabilities Education Act
(“IDEA”), 20 U.S.C. §1415(1). They also argued alternatively, that in any case, the case

should be dismissed pursuant to Rule 12(b)(6), for “failure to state a claim.”

Motion For Reconsideration 2
 

Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page 8of25 PagelD 643

4. T.B. responded noting there was nothing in his Original Complaint that addressed IDEA,
and as such, and based upon well-settled jurisprudence on Rule 12(b)(1), the District’s
Motion must be denied, as it was not ripe. Alternatively, T.B. noted that if the Court would
see fit to grant said motion based upon failure to exhaust administrative remedies, then T.B.
requested that he be permitted to amend his complaint. T.B. believes this request was not
only a professional courtesy but a substantive due process right, that this Court, sadly
ignored. This mistake by the Court itself is a “clear error of law,” and the Motion For
Reconsideration should be granted because of this failure.

5. T.B. also asked the Court, that if the 12(b)(1) was to be considered, that he be given the
opportunity to address this dispositive issue on exhaustion. Surprisingly, and again, sadly,
the Court failed to give T.B. the opportunity to address this crucial issue and instead
summarily dismissed his case. Such an act by the Court is manifestly unjust for not just one,
but two reasons. First, and most obviously, the failure to give Counsel any opportunity to
address an integral legal issue to the case, especially when he specifically asked for such an
opportunity, is absolutely manifestly unjust. Second, and most importantly, as the briefing
on this exhaustion issue below will show, the Court’s decision was absolutely a clear error
of law.

6. As the Court committed a clear error of law, and acted in a manner that was manifestly
unjust, T.B.’s Motion For Reconsideration should be granted. Further, he asks that he be
permitted to amend his complaint and respond to a surely forthcoming motion to dismiss
whether reliant upon Rule 12(b)(1) or 12(b)(6) or both. As such, and with all this in mind.

T.B. proceeds accordingly.

Motion For Reconsideration 3
 

Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page9of25 PagelD 644

Il. FACTUAL RESUME

7. T.B. was born on March 21, 2006. He is now 13 years old and has been diagnosed with
Autism Spectrum Disorder and Attention Deficit Hyperactivity Disorder (“ADHD”). [DE#
19,911]. As the facts more fully describe below, these disabling conditions caused T.B. to
be cognitively impaired such that he did not function at grade level. Additionally, he also
had a number of behavioral issues that over the course of time required him to be removed
from class, restrained and put in a cool down room by staff. He was not considered normal
by staff. [DE# 19, 16, 18, 20].

8. In and around February of 2017, T.B.’s paraprofessional—Kenneth Burt, forcefully grabbed
him, twisted his arm behind his back, pushed him forcefully up against the wall and also
forcefully pushed him down to the floor, significantly injuring him in the process. [DE# 19,
418-19].

9. On or about April 4, 2017, T.B.’s teacher, Laura Adams, knocked him to the ground,
dragged him through two classrooms, and climbed on top of him. Then, as T.B. ran back
and forth in a complete panic, Adams also kicked him in the chest. He suffered bruising
from the kick. Additionally, he had bruising on his wrists and hips from being dragged
around, as well. The incident on April 4, 2017 was captured on video. Mother requested a
copy of the video. Staffrefused. Now would they permit her to see the video. Due to the
second round ofharassment incidents and NWISD’s actions and inactions the various effects
of the bullying and harassment T.B. received at the hands of Burt and Adams had
significantly worsened. Before the incidents, T.B. primary exhibited a positive demeanor;

now his overall demeanor is hopeless and depressed. [DE# 19, 929-33].

Motion For Reconsideration 4
 

Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page 10o0f 25 PagelD 645

10.

11.

12.

Til. PROCEDURAL RESUME

 

THE ADMINISTRATIVE PROCEEDINGS

T.B. filed a complaint with the Texas Education Agency arguing that the District failed to
provide him an Individualized Educational Plan (“TEP”) commensurate with his unique and
individualized needs. He also alleged the District violated his rights pursuant to Section 504
and the ADA, as well as the United States Constitution. [.DE# 4, p. 144-171]. The Hearing
Officer determined that T.B. did not file his complaint with the TEA in a timely manner.
[DE# 4, p. 004- 011].

THE FEDERAL APPEAL OF THE TEA DECISION

T.B. has appealed that order and it is currently set at 4:18-cv-985' and awaits briefing on the
topic.

THE FEDERAL INJURY CASE

T.B. filed his Original Complaint [DE# 1]. The District filed a Motion To Dismiss, pursuant

_ to Fed. R. Civ. P. 12(b)(1) arguing that T.B.’s case should be dismissed because he

purportedly failed to exhaust administrative remedies as required by the IDEA, 20 U.S.C.
§1415(1). They also argued that the case should be dismissed pursuant to Rule 12(b)(6) for
“failure to state a claim.” In his response T.B. noted there was nothing in his Original
Complaint that addressed IDEA, and as such, the Rule 12(b)(1) Motion should be denied,
as it was not yetripe. T.B. asked the Court for the ability to amend his complaint. He also

asked that if the Court did want to consider it the exhaustion issue, he be given permission

 

'" Tf the Judge in that Court finds that the TEA Hearing Officer, erred, whether it be in total or in part, and

the case is remanded back to the TEA, the Court’s current order on the topic be rendered as moot or nullity, and in
any case should be vacated. Alternatively, this Court this Court abate the case pending the outcome of that decision.

Motion For Reconsideration 5
 

Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page 11 of 25 PagelD 646

13.

14.

15.

16.

to address it.

THE COURT’S MEMORANDUM ORDER

The Court granted the School District’s Motion To Dismiss on failure to exhaust claims and
dismissed the entire case in “one fell swoop.” [DE# 30]. The Court did not even address
T.B.’s request he be given the opportunity to amend his complaint, and opportunity to
respond to the District’s exhaustion arguments.

In any case, the Court first looked to Marc V. v N.E. Indep. School District, 455 F.Supp. 2d
577, 592 (W.D. Tex. 2006)? for the proposition that “IDEA bars plaintiffs from
circumventing its administrative exhaustion requirement by asserting under a different
statute that claims that could have been brought thereunder.

The Court also looked to Fry v. Napoleon Community Schools, 137 S. Ct. 743, 755-756

 

(2017) to support its position. First it noted that a reviewing Court is to determine the
“gravaman” of the Plaintiff's complaint. In this analysis a Court asks whether (1) the
plaintiff could have brought essentially the same claims at a public facility that was not a
school and (2) whether an adult at the school could have pressed essentially the same
grievance. asking or alluding to one of the “hints” noted in the Fry decision.

The Judge also noted that:

“*,.. plaintiff alleges he was a student with a disability, and that he was denied a safe
and non-hostile educational environment, and services he needed, such as a

 

*| This case was authored by the Honorable District Judge Xavier Rodriguez, the same Judge who also

penned Pagan-Negron v. Seguin Indep. Sch. Dist., 974 F. Supp. 2d 1020, 1028 (W.D. Tex. 2013). a case where he
found that exhaustion was not necessary. A few points. Most importantly, in Marc V. the family had gone though
exhaustion and lost, and then attempted to repackage their obvious IDEA claims which had failed as different claims
under 504 and the ADA. Judge Rodriguez was not fooled. Alternatively in Pagan the 504 and ADA claims were
based upon injuries at school, and not a re-packaged IDEA claim. As more fully described below T.B.’s case is
more akin to Pagan and not Marc V.

Motion For Reconsideration 6
 

Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page 12 of 25 PagelD 647

psychological assessment, school-based counseling and social skills training, and
aide or shadow to observe him at school. In other words, he was denied appropriate
and necessary accommodations as a student with a disability. Specifically, he
suffered a ‘loss of equal educational opportunities’ as those afforded non-disabled
students.”

Under the Fry test, it is clear the gravaman of plaintiff's complaint is the denial of
FAPE (a free appropriate public education). His claim could not have been brought
outside of the school. Additionally, that his claims were based upon his status as a
student at the school, and could not have been by an adult at the school, alluding to
second “hint” in Fry both leading to the result that the claim was educationally
based requiring exhaustion. The Court further relied upon J.W.’s comment that
damages included “loss of educational opportunities.” [DE# 34, p. 16-17/38] also as
evidence his claim was based upon educational issues requiring exhaustion.”

17. _T.B. respectfully disagrees and files this his Motion For Reconsideration accordingly.

IV. ISSUES FOR RECONSIDERATION

 

T.B. ALLEGED HE WAS PHYSICALLY ABUSED BY HIS TEACHERS. THE
COURT DETERMINED THAT THE VARIOUS CAUSES OF ACTION BASED
UPON SUCH ABUSE REQUIRED HIM TO GO THROUGH ADMINISTRATIVE
EXHAUSTION AS CONTEMPLATED BY 20 U.S.C. 1415(]).

DID THE COURT COMMIT A CLEAR ERROR OF LAW BY NOT
PERMITTING T.B. TO FILE AN AMENDED COMPLAINT?

Yes!
DID THE COURT COMMIT AN ERROR OF LAW BY NOT PERMITTING T.B.
THE OPPORTUNITY TO RESPOND TO THE DISTRICT’S EXHAUSTION
ISSUE BEFORE RULING ON THE ISSUE?

Yes!

DID THE COURT COMMIT AN ERROR OF LAW WHEN DETERMINING
THAT T.B. WAS REQUIRED TO EXHAUST ADMINISTRATIVE REMEDIES?

Yes!

WAS PERMITTING THE CASE TO BE SUMMARILY DISMISSED
MANIFESTLY UNJUST?

Yes!

Motion For Reconsideration
Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page 13 of 25 PagelD 648

V. STANDARD OF REVIEW

 

18. Federal Rule Of Civil Procedure 59(e) permits a party to Alter Or Amend A Judgment within
28 days after such judgment is entered. The Court may grant a timely motion for
reconsideration “for any reason that would justify granting one on a party’s motion.” Fed.
R. Civ. P. 59(d). Such reasons include “a clear error of law or to prevent manifest injustice.”
ING Global v. United Parcel Serv. Oasis Sup., 757 F.3d 92, 96-97 (2 Cir. 2014). T.B.
reasonably believes that in light of the facts and procedural resume noted above relative to
the operative law cited below, the Court committed a substantive error of law in granting the
School District’s Motion For Summary Judgment on this exhaustion issue. Moreover to let
this decision remain would be a manifestly unjust to T.B. This request is not brought for
purposes of delay but rather so that justice may be better served.

VI. ARGUMENT AND AUTHORITIES

 

19. _ Plaintiffs incorporate by reference, as if fully set forth herein, all the above noted paragraphs,
as if fully set forth herein, and additionally, each following paragraph incorporates the
paragraphs and sections before it.

A. THE COURT COMMITTED A CLEAR ERROR OF LAW BY NOT PERMITTING T.B.
TO AMEND HIS ORIGINAL PETITION

20. It is well-settled that leave to amend should be granted is generally within the sound
discretion of the district court. Lyn-Lea Travel Corp. v. American Airlines, Inc., 283 F.3d
282, 286 (5th Cir.), cert. denied, 537 U.S. 1044, 123 S. Ct. 659, 154 L. Ed. 2d 516 (2002)
[quoting Quintanilla v. Texas Television, Inc., 139 F.3d 494, 499 (Sth Cir. 1998)]. However,
Federal Rule of Civil Procedure 15(a) also make it clear that the trial court is required to

grant leave to amend “freely.” Id. In fact, the language of R. 15 evidences a bias and

Motion For Reconsideration 8
 

Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page 14of25 PagelD 649

21.

22.

23.

predisposition in favor of granting leave to amend. Courts in this circuit have determined that
the purpose of the bias in favor of allowing amendment of the pleadings is to assist the
disposition of the case on its merits, and to prevent pleadings from becoming ends in

themselves. Dussouy v. Gulf Coast Investment Corp., 660 F.2d 594, 598 (5th Cir. 1981).

 

Moreover, while leave to amend should not be granted automatically, the trial court should

always err on the side of allowing an amendment. Addington v. Farmer's Elevator Mutual

 

Insurance Co., 650 F.2d 663, 666 (Sth Cir. 1981), cert. denied, 454 U.S. 1098, 102 S. Ct.
672, 70 L. Ed. 2d 640 (1982); Laber v. Harvey, 438 F3d 404, 426-427 (4" Cir.
2006)[amendment is not prejudicial ifit merely adds theory of recovery to facts already pled
and offered before discovery has occurred]; Harrison v. Rubin, 174 F3d 249, 253 (D.C. Cir.
1999) [permitting amendment that clarifies legal theories].;

Last “[A] motion for leave to amend should not be denied unless there is [quoting Foman
v. Davis, 371 U.S. 178 (1962)] “undue delay, bad faith or dilatory motive on the part of the
Movant, repeated failure to cure deficiencies by amendments previously allowed [or] undue
prejudice to the opposing party by virtue of allowance of the amendment.” U.S. ex rel.
Willard v. Humana Health Plan of Texas Inc., et al., 336 F.3d 375, 386 (Sth Cir. 2003).
T.B. has not acted in bad faith, nor has he delayed the proceedings nor has he a dilatory
motive. Further, granting T.B.’s Motion For Reconsideration giving him permission to
amend his complaint, would not unduly prejudice Defendants and in fact to do otherwise,
is a Clear error of law, would unfairly prejudice T.B. and be manifestly unjust thereby.
THE COURT COMMITTED A CLEAR ERROR OF LAW BY NOT PERMITTING T.B.

THE OPPORTUNITY TO RESPOND TO THE DISTRICT’S EXHAUSTION ISSUE
BEFORE RULING ON THE ISSUE?

Motion For Reconsideration 9
 

Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page 15o0f25 PagelD 650

24.

25.

26.

T.B. asked the Court for permission to address this dispositive issue and it was not provided.

Such sua sponte dismissals are not favored. Knight v. Mooring Capital Fund, LLC, 749 F.3d

 

1180, 1190 (10" Cir. 2014); see also Williams v. City of Chicago,733 F.3d 749, 755 (7" Cir.

 

2013){non-moving party must be given opportunity to respond and present argument]. The
Court committed a clear abuse of discretion and error of law.

DID THE COURT COMMIT AN ERROR OF LAW WHEN DETERMINING THAT T.B.
WAS REQUIRED TO EXHAUST ADMINISTRATIVE REMEDIES?

The School District argues that T.B. complaint should be barred for failure to exhaust
administrative remedies. In doing so they substantially rely upon the Supreme Court‘s

decision in Fry v. Napoleon Community School, 137 S. Ct. 743 (2017). In doing so they fail

 

to note that in footnote #9 of the decision the Court wrote:

“The school districts offer another example illustrating the point. They suppose that

a teacher, acting out of animus or frustration, strikes a student with a disability, who

then sues the school under a statute other than the IDEA. See Brief for Respondents

36-37. Here too, the suit could be said to relate, in both genesis and effect, to the
child’s education. But the school districts opine (emphasis added) we think correctly,

that the substance of the plaintiff's claim is unlikely to involve the adequacy of
special education—and thus is unlikely to require exhaustion....”

This Court likewise failed this clear and absolute directive by the Supreme Court.

As will be more fully cited below, it is now well-settled that when a school staff member
injures a child there is no need to exhaust claims under the IDEA. In fact, not only F.H. v.

Memphis City Schools noted above in T.B.’s Prologue, but other previous case law in this

circuit and district also supports this proposition. In fact, in Dabney v. Highland Park

 

Elementary School Dist., No. 3:15-CV-2122-1; 2016 WL 1273467 at *16-17 (N.D. Tex.,
March 31, 2016) the Court wrote:

"The IDEA should not be construed so broadly any injury a disabled student suffers

Motion For Reconsideration 10
Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page 16 of 25 PagelD 651

in school is automatically subject to the IDEA." Pagan-Negron v. Seguin Indep. Sch.
Dist., 974 F. Supp. 2d 1020, 1028 (W.D. Tex. 2013). Accordingly, when a plaintiff
alleges a "pure discrimination claim" or "non-education injuries" cannot "be
redressed by the IDEA's administrative procedures and remedies," the IDEA
exhaustion requirement does not apply. Id.

 

27. Specifically the following all support Judge Rodriguez’ distinction between an IDEA based

case like Mark V. and one that is not: see Tristan v. Socorro Independent School Dist., 902

 

F. Supp. 2d 870, 879-80 (W.D. Tex. 2012) [physical assault not related to educational
programs; "[I]t would be absurd to interpret the [IDEA] as placing restrictions on a disabled
student seeking redress for constitutional torts, when such restrictions would not apply if the

same claims were brought by his non-disabled classmates."]; Deshotel v. West Baton Rouge

 

Parish School Bd., 937 F. Supp. 2d 826, 831 (M.D. La. 2011) [remedies under IDEA only
provide prospective educational benefits; exhaustion not required in case of abusive use of
restraints]; P.R. v. Central Texas Autism Center, 2009 U.S. Dist. LEXIS 43303,, at * 20-22
(W.D. Tex. May 15, 2009) [where Plaintiff not complaining about educational issues but
seeks monetary damages for physical injuries and emotional anguish, exhaustion not
required] and R. J. v. McKinney Indep. Sch. Dist., No. 4:05-CV-257, 2005 U.S. Dist. LEXIS
39470, at *22-*23 (E.D. Tex. Dec. 29, 2005) [... hearing officer cannot award money
damages for non-educational injuries and would be futile for student to exhaust claims].

Morris v. Dearborne, 181 F.3d 657, 674 (5m Cir. 1999) [there is no provision in IDEA to

 

>. In Pagan-Negron, the Honorable District Judge Xavier Rodriguez in this case noted the distinction
between his decision in the Marc V. and that case. Specifically, the Judge noted the child’s claim was based upon
abuse and did not allege deprivation of certain educational services, nor did mother seek remedies that were
educational in nature or available under the IDEA. Nor did Pagan-Negron challenge her child’s placement or related
educational services; instead she seeks only tort-like damages in the form of physical pain, mental anguish, medical
expenses, and mental health expenses, which are claims for relief not available under the IDEA. It is exactly what
T.B. has requested in this case.

Motion For Reconsideration 11
Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page17 of 25 PagelD 652

address atrocities regarding sexual abuse].

28. Moreover, there is substantial and significant pre-Fry caselaw across many circuits and
federal district courts, that when a student is the subject of injuries, intentional, accidental
or not, such acts of physical injuries do not require exhaustion. See F. H. v. Memphis City
Sch., 764 F.3d 638, 645 (6th Cir. 2014) [in case involving special needs student who alleged
abuse over a period of time, concluding that where "the gravamen of [the] complaint is the
verbal, physical, and even sexual abuse of [the plaintiff] by his aides," the factual allegations
did not implicate the IDEA; (Kethledge, concurring) ["The gravamen of [the plaintiff's]
claim... is that this conduct was an attack upon [his] dignity as a human being. That injury
was not remediable by some change to [his] Individualized Education Plan."]; Muskrat v.
Deer Creek Pub. Schs., 715 F.3d 775, 785 (10th Cir. 2013) [where the plaintiffs alleged
"scattered instances of potential battery” that may have "resulted from simple frustration
with [the student] rather than any legitimate disciplinary goal," finding exhaustion not
required and stating "we do not believe the child's parent must request a 'no random

violence” clause in the [individualized education plan"]; Moore v. Kansas City Public

 

Schools, 828 F.3d 687 (8m Cir. 2016) [... where student was sexually abused, noting that
references in the complaint to the defendant's failure to address the student's tendency to
wander and vulnerability to suggestion and abuse, does not change the gravamen of the
action to one concerning educational rights or denial of a FAPE; “We agree with the Ninth
Circuit that "[n]on—IDEA claims that do not seek relief available under the IDEA are not
subject to the exhaustion requirement, even if they allege injuries that could conceivably

have been redressed by the IDEA" citing Payne v. Peninsula Sch. Dist., 653 F.3d 863, 871

 

Motion For Reconsideration 12
Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page 18 of 25 PagelD 653

29.

(9th Cir. 2011) (en banc), overruled on other grounds by Albino v. Baca, 747 F.3d 1162,

1166, 1171 (9th Cir. 2014) (en banc); McCormick v. Waukegan Sch. Dist. #60, 374 F.3d 564

 

(7th Cir. 2004) [... the IDEA provided no remedy for permanent physical injuries that a
student with a metabolic disorder suffered when a PE teacher required him to run laps and

do pushups.]; F.H. ex rel. Hall v. Memphis City Schools, 764 F.3d 638 (6th Cir. 2014)

 

[holding that exhaustion not required when plaintiff brings section 1983 claims predicated

on verbal, physical, and sexual abuse]; Padilla v. Sch. Dist. No. 1, 233 F.3d 1268, 1274 (10th

 

Cir. 2000) [holding that a disabled student who suffered a fractured skull and exacerbation
of a seizure disorder when she was placed in an unsupervised windowless closet did not need
to exhaust because the claim was brought "solely to redress" the physical injuries and was
outside of the scope of IDEA"]; Franklin v. Frid, 7 F. Supp. 2d 920, 925 (W.D. Mich. 1998)
[excluding "random acts of violence" from IDEA exhaustion requirement] and Hough v.
Shakopee Public Schools, 608 F. Supp. 2d 1087 (D. Minn. 2009) [finding that Fourth
Amendment unlawful search claim did not require exhaustion of administrative procedures
because "plaintiffs' assertions with respect to the effect of the searches on their education"
were peripheral to the claim].

Caselaw subsequent to Fry, also supports T.B.’s position in similar cases across the country.
See Doucette v. Georgetown Public Schools, No. 18-1160 (1*. Cir., August 26, 2019); P.G.
v. Rutherford Cty. Bd. of Educ., 313 F. Supp. 3d 891(M.D. T.N.-Nashville Division, May
29, 2018) citing and relying upon the following: Considine-Brechon v. Dixon Pub. Sch. Dist.

#170, 2017 U.S. Dist. LEXIS 87942, 2017 WL 2480751, at *4-5 (N.D. Ill. June 8, 2017)

 

[citing Fry, 137 S. Ct. at 756]; E.H. v. Neal, 2018 U.S. Dist. LEXIS 93001 (M.D. Tenn. Apr.

Motion For Reconsideration 13
Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page 19o0f25 PagelD 654

16, 2018) [citing Fry and observing that the plaintiffs' ADA and Rehabilitation Act claims
based on a single strike to the face of an autistic child allegedly causing psychological harm
"focus[ed] on whether [the] strike denied [the student] access (emphasis added) to public
education programs as opposed to the specific nature or quality of those programs under [the
IDEA]"); accordingly, the Court concludes that the allegations are "beyond the scope of a

FAPE . .. in the school context."]; Gosch v. Sergeant Bluff-Luton Cmty. Sch. Dist., 244 F.

 

Supp. 3d 904, 921-23 (N.D. Iowa 2017) [applying Fry, finding claims that involved
"subjecting [student] to unwarranted and unnecessary physical force" or concerned
"unlawful and unreasonable use of physical force" are wrongs beyond the scope of the denial

ofa FAPE under the IDEA, and excusing exhaustion]; Daniels v. Indep. Sch. Dist. No. 001.,

 

2018 U.S. Dist. LEXIS 79232, 2018 WL 2145009, at *3 (W.D. Okla. May 9, 2018) [noting
Fry, concluding that Section 1983 claim based upon allegations of abuse and harassment of
autistic student by teacher and students does not allege denial of a FAPE, and finding "no
basis for concluding that there is an IDEA claim . . . at issue ..."]; Condit v. Bedford Cent.
Sch. Dist., 2017 U.S. Dist. LEXIS 171701, 2017 WL 4685546, at *9 (S.D. N.Y. Oct. 16,
2017) [under Fry, differentiating between claims regarding bullying causing trauma (the
basis for the plaintiff's suit) that did not require IDEA exhaustion and hypothetical claims
that the plaintiff's parents were displeased with the content of the student's education]; Hurd
v. Clark Cty. Sch. Dist., 2017 U.S. Dist. LEXIS 162691, 2017 WL 4349231, at *4 (D. Nev.
Sept. 29, 2017) [applying Fry and holding that allegations of physical abuse of three special
education students by teacher "does not seek redress for the school's failure to provide a

FAPE . .. [and] would be actionable whether the conduct occurred at a non-school public

Motion For Reconsideration 14
Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page 20 of 25 PagelD 655

30.

31.

32.

facility or against adults"]; Bowe v. Eau Claire Area Sch. Dist., 2017 U.S. Dist. LEXIS

 

61496, 2017 WL 1458822, at *5 (W.D. Wis. Apr. 24, 2017) [considering the Fry
hypotheticals and determining that the injuries alleged by the autistic plaintiff, including
physical assault, were "a general-purpose barrier to all of the benefits of school, not just the
custom-designed [individualized education program] that the IDEA provides"] and among
others Gm v. Lincoln Cty. Sch. Dist., 2017 U.S. Dist. LEXIS 101161, 2017 WL 2804996,
at *4 (D. Ore. Apr. 21, 2017) [under Fry, where non-verbal special needs student alleged
pain and distress from unequal seclusion, finding that "[w]hile such treatment could certainly
affect the quality of one's education, the harm plaintiff describes could exist even if his
education was top notch. Plaintiff alleges discrimination, not inadequate individualized
educational services, and thus his claims fall outside the IDEA."].

Specifically, as all the above help crystallize the issue and the correct question for this Court,
is this a case about “bare allegations of violence (attributed to discrimination) ... untethered

from the core of a [student’s] educational program” citing P.G. v. Rutherford County Board

 

of Education, 313 F. Supp. 3d 891 (M.D. Tenn. 2018) or is itnot? Itis self-evident that this
case is about “bare allegations of violence” not T.B.’s IEP.
As the Court’s decision granting the School District’s argument T.B. was required to exhaust

administrative remedies is “a clear error of law, ING Global v. United Parcel Serv. Oasis

 

Sup., 757 F.3d 92, 96-97 (2 Cir. 2014), the Court should grant his Motion For
Reconsideration to prevent a manifest injustice.

THE TWO HINTS ARE INAPPLICABLE AND EVEN IF THEY ARE APPLICABLE T.B.
CAN DEMONSTRATE THEY BOTH WORK TO HIS FAVOR

A review of footnote #9 in Fry notes that a:

Motion For Reconsideration 15
 

Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page 21 of 25 PagelD 656

33.

34.

35.

36.

keene telling indicator of that conclusion is that a child could file the same kind of suit against
an official at (emphasis added) another public facility for inflicting such physical abuse—as
could an adult subject to similar treatment by a school official. To be sure, the particular
circumstances of such a suit (school or theater? student or employee?) might be pertinent in
assessing the reasonableness of the challenged conduct. But even if that is so, the plausibility
of bringing other variants of the suit indicates that the gravamen of the plaintiff's complaint
does not concern the appropriateness of an educational program...”

It is sure that T.B. could have filed a complaint against a City Police Department or County
Sheriff's Department, based upon Section 504 or the ADA, if an officer had both
unnecessarily and excessively tased him at a theater or public library. Waller v. City of
Danville, 556 F.3d 171, 174 (4% Cir. 2009); Gorman v. Batch, 152 F3rd 907 (8® Cir. 1998).
As such, exhaustion would not be required in such a circumstance.

Similarly the second “hint” also works to T.B.’s favor. If he has been past 18 years old but
still in public school, as permitted under IDEA, and he was physically abused by staff, he
surely would still have a viable claim against the school.

Similarly, an adult visiting the school, or a teacher, if that person for instance was having a
mental health breakdown at the school, and was injured by a staff person in the course of
addressing that outburst, see P.G. v. Rutherford at 89224 *26, would have a viable cause of
action under Section 504 or the ADA, see Hainze v. Richards, 207 F.3d 795, 799 (Sth
Cir.2000), and would not require exhaustion..

In fact, and T.B. wrote above, the issue of the damages based upon failure to provide
educational services as the same extent as provided non-disabled student, could also apply
to adults. Again, a student with a disability who was 18 years old and was injured by a staff

member would certainly a have a loss of educational opportunities. So would an adult taking,

for instance, evening classes at the school, who was injured by a staff member.

Motion For Reconsideration 16
Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page 22 of 25 PagelD 657

37. Additionally, under Special Education Law if a parent who is at the School District
attending, for instance an Admission, Review & Dismissal (“ARD”) Committee Meeting at
the school, had a mental health and/or behavioral meltdown, and was tased by a School
Police or Resource Officer, that adult would suffer a loss of an educational opportunity also.
Winkelman v. Parma City Sch. Dist., 550 U.S. 516 [The IDEA mandates that educational
agencies establish procedures to ensure that children with disabilities and their parents are
guaranteed procedural safeguards with respect to the provision of a free appropriate public
education (“FAPE”)]. 20 U.S.C. §1415(a)].

38. In summary, the two hints noted in Fry help T.B. not the School District.

C. THE MENTION OF EQUAL ACCESS TO EDUCATION DOES NOT CHANGE A
TORTBASED CLAIM IN AN IDEA CLAIM

39. | The Memorandum Opinion relies upon T.B.’s complaint where he alleges he suffered a “loss
of educational opportunities” [DE# 30, p. 8] as evidence that the gravaman of his complaint
is IDEA based and not abuse based. The reliance upon this phrase is misplaced as
importantly, a loss of, or an effect upon, the educational opportunities of T.B. is an element
of recovery for all school based injury claims, including those related to Title LX, see Davis
ex el. LaShonda D v. Monroe County Board of Education, 526 U.S. 629, 650 (1999) for this
proposition whether it be under Title IX of the Educational Acts of 1972; for or a claim
where there is discrimination based upon race, nationality or religion pursuant to Title VI

of the Civil Rights Acts of 1964 at a school; see Fennell v. Marion Independent School

 

District, 804 F.3rd 398, 410 (5" Cir. 2015) and especially one must also show a deprivation
of educational opportunities when alleging discrimination based upon disability at a school;

see also 8.8. v. E. Ky. Univ., 532 F.3d 445, 453-56 (6th Cir. 2008) [element of disability

Motion For Reconsideration 17
Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page 23 of 25 PagelD 658

discrimination claim is loss of educational opportunities.]. In short, this statement that the

Court relies upon, has nothing to do with T.B.’s IEP, Special Education services or the

delivery of FAPE to him. Moreover, and again, to the extent there is any ambiguity as to

this phrase related to damages, it’s inferences inures to the benefit of T.B. not the School

District at this stage of the litigation.

VII. CONCLUSION AND PRAYER

WHEREFORE PREMISES CONSIDERED Plaintiffs urge that their Motion For

Reconsideration be granted in total and alternatively, in part; P.G. v. Rutherford at 89224 *31-32

[requiring exhaustion on some claims and not on others]; J.A. v. Corpus Christi ISD, 2018 U.S. Dist.

 

LEXIS 158823 *7-8 (S.D. TX., Corpus Christi Division, September 18, 2018) [Court striking as
superfluous certain facts and claims] such that claims based upon the physical abuse of T.B. be
permitted to proceed; and in addition and also in the alternative the Court withdraw its Memorandum
and Opinion in this cause, pending the adjudication of the appeal in Cause No. 4:18-cv-985; that
T.B. be permitted to amend his complaint, and for such other relief as this Court deems just and

proper, whether it be in law or in equity or both.

 

Ms. Holly Terrell, Of Counsel
State Bar No. 24050691

holly@cirkielaw.com [Email]; both of

Cirkiel & Associates, P.C.

1901 E. Palm Valley Boulevard
Round Rock, Texas 78664
(512) 244-6658 [Telephone]

Motion For Reconsideration 18
Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page 24 of 25 PagelD 659

Motion For Reconsideration

(512) 244-6014 [Facsimile]

Mr. Kenneth Carden, Esq.

State Bar No. 03787300

Carden Law Office

1409 S. Lamar Street, Apt. 601
Dallas, Texas 75215

(214) 485-3535 [Telephone]

(214) 485-3500 [Facsimile]
carden.ada.law@gmail.com [Email]

REPRESENTATIVES FOR PLAINTIFFS

19
 

Case 4:18-cv-00984-A Document 33 Filed 08/30/19 Page 25 o0f25 PagelD 660

CERTIFICATE OF SERVICE
I hereby certify that on this the 27 day of August 2019, I sent the foregoing documents to the
Clerk of Court by hand-delivery FEDEX with email notice provided to Defendants, and also to be
electronically provided to the following CM/ECF system participant upon filing:

Ms. Meredith Prykyl Walker, Attorney
State Bar No. 24056487
mwalker(@wabsa.com [Email];

Laura Rodriguz McLean, Attorney
State Bar No. 24007937
Imclean@wabsa.com: both at

Walsh, Gallegos, Trevino, Russo and Kyle P.C.
105 Decker Court

Suite 600

Irving, TX 75062

(214) 574-8800 [Telephone]

(214) 574-8801 [Facsimile]; and

D. Craig Wood, Attorney
State Bar No. 2188700
cwood@wabsa.com [Email]
Walsh, Gallegos, Trevino, Russo and Kyle P.C.
10120 N.E. Loop 41

Suite 450

San Antonio, Texas 78208.

 

Motion For Reconsideration 20
